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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ANDRE R. JOHNSON
                                                   Civil Action
              Plaintiff,                           File No. _________________

 v.                                                Removed from State Court of
                                                   Fulton County, Civil Action File
 THE KROGER CO.,                                   No. 23EV004834

              Defendant.                           JURY TRIAL DEMANDED


 DEFENDANT THE KROGER CO.’S DEMAND FOR TWELVE PERSON
                        JURY


      COMES NOW, Defendant The Kroger Co., by and through the undersigned

counsel, and pursuant to Federal Rules of Civil Procedure, Rule 38, hereby demands

that this case be tried by a jury of twelve (12) persons.

      Respectfully submitted this 8th day of September, 2023.


 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                   /s/ Marc Hood
 950 East Paces Ferry Road, N.E.             Matthew G. Moffett
 Suite 1700 – Salesforce Tower Atlanta       Georgia State Bar No.: 515323
 Atlanta, Georgia 30326                      Marc Hood
 Telephone: (404) 870-1067                   Georgia State Bar No.: 490821
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 Email: mhood@grsmb.com
        ykintner@grsmb.com
      Case 1:23-mi-99999-UNA Document 2897-2 Filed 09/08/23 Page 2 of 2




  CERTIFICATE OF SERVICE AND OF COMPLIANCE WITH L.R. 5.1

      This is to certify that on this date, the undersigned filed a true and correct copy

of the foregoing pleading with the Clerk of Court using the CM/ECF system and

served all parties of record via electronic service through the CM/ECF system to:

                              Paul I. Hotchkiss, Esq.
                             Maggie L. Stewart, Esq.
                            Hotchkiss Law Firm, LLC
                               185 E. Lake Ter. SE
                             Atlanta, Georgia 30317
                           paul@hotchkisslawfirm.com
                          maggie@hotchkisslawfirm.com
                               Counsel for Plaintiff


      Further, this is to certify that the foregoing pleading complies with the font

and point selections approved by the Court in Local Rule 5.1. It is prepared in Times

New Roman 14-point font.

      Dated this 8th day of September, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                    /s/ Marc Hood
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